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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

CHERYL GREEN, individually and
derivatively,

       Plaintiff,                             Case No. 3:18-cv-02393-TKW-HTC

v.

MALINDA FIVEASH, HKD
PROPERTIES, INC., a Florida
Corporation, and HILL-KELLY
DODGE, INC., a Florida Corporation,

       Defendants.

                     JOINT STIPULATION OF DISMISSAL

       COME NOW, Cheryl Green, Plaintiff in the above-styled and numbered

cause, and Malinda Fiveash, HKD Properties, Inc. and Hill-Kelly Dodge, Inc.

("Defendants”) the same being all of the parties joined in this proceeding, and

pursuant to Rule 41(a)(1)(A)(ii) of the Fed.R.Civ.P. hereby stipulate by and through

their respective counsel of record that the settlement of these claims previously

approved by the Court pursuant to Fed.R.Civ.P. Rule 23.1(c) (Doc. No. 119) has

been completed and that the claims in this action are due to be dismissed, with

prejudice, each party to bear her or its own costs and attorneys’ fees.




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       Dated this 11th day of February, 2020.

                                      Respectfully submitted,


                                      /s/Michael H. Moody (by consent)
                                      Michael H. Moody, Florida Bar # 66471
                                      Attorney for Plaintiff Cheryl Green
OF COUNSEL:

Michael H. Moody Law, P.A.
1881A Northwood Center Boulevard
Tallahassee, FL 32303
Telephone: (850) 274-2615
michael.moody@michaelhmoodylaw.com


                                      /s/Todd M. LaDouceur (by consent)
                                      Todd M. LaDouceur, Florida Bar # 064051
                                      Matthew A. Smith, Florida Bar # 114270
                                      Attorneys for Defendants, Malinda Fiveash
                                      and HKD Properties, Inc.
OF COUNSEL:

Galloway, Johnson, Tompkins,
      Burr & Smith, P.L.C.
118 East Garden Street
Pensacola, FL 32502
Telephone: (850) 436-7000
Facsimile: (850) 436-7099
TLaDouceur@gallowaylawfirm.com
MASmith@gallowaylawfirm.com


                                      /s/T. Julian Motes
                                      T. Julian Motes (Admitted Pro Hac Vice)
                                      Kathryn I. Kasper, Florida Bar # 0621188
                                      Attorneys for Defendant
                                      Hill Kelly Dodge, Inc.

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OF COUNSEL:

Sirote & Permutt, PC
One St. Louis Centre, Suite 1000
Post Office Drawer 2025
Mobile, AL 36652-2025
Telephone: (251) 432-1671
Facsimile: (251) 434-0196
jmotes@sirote.com

and

Sirote & Permutt, P.C.
1201 S. Orlando Avenue, Suite 430
Winter Park, FL 32790
Telephone: (850) 462-1510
Facsimile: (850) 462-1599
kkasper@sirote.com




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